    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                Office of the Clerk
        United States Courthouse
                                                                               Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                               www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
July 15, 2021

                                                       Before
                                          DIANE S. SYKES, Chief Judge
                                          MICHAEL Y. SCUDDER, Circuit Judge
                                          THOMAS L. KIRSCH II, Circuit Judge

                                     UNITED STATES OF AMERICA,
                                              Plaintiff - Appellee

No. 20-3291                          v.

                                     ALEXANDER P. BEBRIS,
                                            Defendant - Appellant
Originating Case Information:
District Court No: 1:19-cr-00002-WCG-1
Eastern District of Wisconsin
District Judge William C. Griesbach


        The judgment of the District Court is AFFIRMED, in accordance with the decision of
this court entered on this date.


form name: c7_FinalJudgment        (form ID: 132)




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